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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                           :    CRIMINAL NO.
                                                    :
              v.                                    :    VIOLATIONS:
                                                    :    18 U.S.C. § 1001(a)
 INDIA POWELL,                                      :    (False Statement)
                                                    :
                    Defendant.                      :

                                     INFORMATION

       The United States Attorney charges that:
                                          COUNT ONE

       On or about December 19, 2019 within the District of Columbia and elsewhere, defendant

INDIA POWELL, in a matter within the jurisdiction of the executive branch of the government

of the United States, did knowingly and willfully make a materially false, fictitious, and fraudulent

statement and representation, in that defendant POWELL represented she was unaware of the

circumstances of her fiancé, James Hutchings Jr’s, relationship with Linwood Douglas Thorne,

when, in truth, she was familiar with the relationship, and intentionally lied to law enforcement to

avoid further scrutiny.

       (False Statements, in violation of Title 18, United States Code, Section 1001(a))

                                                        Respectfully submitted,

                                                        MATTHEW M. GRAVES
                                                        United States Attorney
                                                        D.C. Bar No. 481052

                                              By:       /s/ Gregory Rosen
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